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       5   SPECIAL MASTER

       6

       7
                                           UNITED STATES DISTRICT COURT
       8
                                         NORTHERN DISTRICT OF CALIFORNIA
       9
                                                    OAKLAND DIVISION
     10
     11    SHENZHENSHI HAITIECHENG                                  Case No. 4:15-cv-00797 JST (SK)
           SCIENCE AND TECHNOLOGY CO., LTD., a
     12    People’s Republic of China corporation,
     13                     Plaintiff,
                                                                     SPECIAL MASTER’S ORDER NO. 9:
     14           and
                                                                     STIPULATED ORDER RE MISUSE
           VIRTUE GLOBAL HOLDINGS LIMITED, a                         OF MOVA TRADEMARK
     15    business company incorporated in the British
           Virgin Islands,
     16
                           Intervenor,
     17           v.

     18    REARDEN, LLC, a California Limited Liability
           Company; REARDEN MOVA, LLC, a
     19    California Limited Liability Company; MO2,
           LLC, a California Limited Liability Company;
     20    and MOVA, LLC, a California Limited Liability
           Company,
     21
                            Defendants.
     22

     23
           AND RELATED COUNTERCLAIMS.
     24

     25

     26             Counsel for defendant Rearden and third-party XRSPACE have submitted an amended stipulated

     27    Order, attached hereto as Exhibit A, and asked the Special Master to recommend that Judge Tigar sign it.

     28    The Special Master has reviewed the Amended Order, considered all the circumstances, and for the

                                                               1
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       1   following reasons now recommends that Judge Tigar approve, sign and file a further revised Order

       2   attached as Exhibit A.

       3                                                     Background

       4            On October 30, 2020 the Special Master filed his Order No. 8 [ECF No. 580] recommending that

       5   the Court sign and issue a stipulated order as revised by the Special Master, which was attached as Exhibit

       6   A to Order No. 8. Order No. 8 directed the parties to prepare a revised order in the format of Exhibit A,

       7   have it signed and resubmit it to the Special Master. On November 4, 2020, counsel for VGH and

       8   XRSPACE submitted a proposed further revision to the Order. The Special Master directed them to have

       9   it signed, and they have submitted a revised signed copy on November 16, 2020.

     10             For the Court’s convenience, I set out here the relevant language from the three versions of the

     11    proposed Order: the version the parties originally asked the Court to sign; the version the Special Master

     12    approved in Order No. 8; and the further revised version submitted on November 16, 2020. For further

     13    background on this issue, the Court is invited to review Special Master Order Nos. 3 and 8. [ECF Nos. 565

     14    and 580]

     15    Original Order Submitted by the Parties

     16          The Court APPROVES the Parties’ stipulation and therefore it is ORDERED and

     17    ADJUDGED as follows:

     18             All persons upon whom this Order is served shall take all necessary steps to stop using the
                    MOVA brand or trademark in reference to XRSPACE or its products and services in all
     19             forms, including, but not limited to product and service branding and labeling; trademark,
                    service mark and trade name filings; Internet references, including but not limited to
     20             websites, search results, indexes, Wikis, blogs, archives, URLs, hyperlink text, alt text,
                    key words, advertising keywords, comments and source code; marketing and sales
     21             materials; press materials, releases, briefings and publications; social media; images; audio
                    and video.
     22

     23    Order Approved by the Special Master [ECF No. 580]
     24             The Court APPROVES the Parties’ stipulation and therefore now ORDERS and
     25    ADJUDGES as follows:
     26             All persons upon whom this order is served are hereby notified that the Court has
                    previously found that Rearden LLC is the sole owner of the MOVA brand name and
     27             trademark, and that Rearden and XRSPACE have agreed that any use of MOVA in
                    connection with XRSPACE and its products or services is improper. This applies to use
     28
                    of the MOVA name in all forms including, but not limited to, product and service
                                                                 2
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       1              branding and labeling; trademark, service mark and trade name filings; Internet references,
                      including but not limited to websites, search results, indexes, Wikis, blogs, archives,
       2              URLs, hyperlink text, alt text, key words, advertising keywords, comments and source
                      code; marketing and sales materials; press materials, releases, briefings and publications;
       3              social media; images; audio and video.

       4
           Revised Order Requested by the Parties
       5
                The Court APPROVES the Parties’ stipulation and therefore now ORDERS and ADJUDGES
       6
           as follows:
       7
                      All persons upon whom this order is served are hereby notified that the Court has
       8              previously found that Rearden LLC is the sole owner of the MOVA brand name and
                      trademark, and that Rearden, XRSPACE and the Court have agreed that any use of
       9              MOVA in connection with XRSPACE and its products or services is improper. This
                      applies to use of the MOVA name in all forms including, but not limited to, product and
     10               service branding and labeling; trademark, service mark and trade name filings; Internet
                      references, including but not limited to websites, search results, indexes, Wikis, blogs,
     11
                      archives, URLs, hyperlink text, alt text, key words, advertising keywords, comments and
     12               source code; marketing and sales materials; press materials, releases, briefings and
                      publications; social media; images; audio and video. [changes underlined]
     13

     14                                                        Analysis

     15               In Order No. 8 the Special Master concluded that the original proposed Order, while stipulated,

     16    over-reached the Court’s role and jurisdiction by purporting to order numberless unknown non-parties to

     17    refrain from using the MOVA name in connection with XRSPACE. Instead, the Special Master framed an

     18    Order which merely approved the parties’ stipulation that use of MOVA in connection with XRSPACE

     19    was improper. That formulation would not require the Court to risk exceeding its proper jurisdiction, but

     20    hopefully would be equally effective in obtaining compliance from third party websites and media

     21    sources.

     22               The parties have now tweaked the Special Master’s language, and ask that the Court agree with the

     23    parties that the use of MOVA in connection with XRSPACE is improper. While the Special Master is not

     24    wholly comfortable with this language, he nonetheless recommends that the Court sign and issue the

     25    revised Order. The Court’s agreement with the parties’ stipulation that third parties should not use MOVA

     26    in connection with XRSPACE flows logically from (1) its finding in the Statement of Decision that

     27    Rearden is the sole owner of the MOVA brand and trademark [ECF No. 427], (2) its order that VGH, DD3

     28    and all parties acting in concert with them return the MOVA trademark to Rearden [ECF No. 449], (3)

                                                                  3
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       1   Special Master’s Order No. 3 [ECF No. 565] that ordered Perter Chou to “cause XRSPACE to cease all

       2   use of the MOVA brand and trademark.” (16:14-16), and (4) Special Master’s Order No. 8 that

       3   recommended entry of an order in which the Court did no more than approve the parties’ stipulation.

       4            The Special Master believes it is appropriate for the Court to help the parties to remedy the

       5   commercial damage done to Rearden by the violation by VGH, DD3 and Peter Chou of the Court’s orders

       6   by permitting XRSPACE to use the MOVA name for a period. The final proposed revised Order, attached

       7   as Exhibit A, accomplishes that help without over-reaching the Court’s jurisdiction.

       8
           Dated: November 17, 2020
       9
                                                                     _________________________________
     10                                                              Martin Quinn, Special Master

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                                     EXHIBIT A
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                                                             /s/ Frank Busch
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                                             PROOF OF SERVICE BY E-Mail

                    Re: Shenzhenshi Haitiecheng Science and Technology Co., Ltd. vs. Rearden LLC, et al.
                                                Reference No. 1100105909

             I, Sandra Chan, not a party to the within action, hereby declare that on November 17, 2020, I served the attached

SPECIAL MASTER'S ORDER NO. 9: STIPULATED ORDER RE MISUSE OF MOVA TRADEMARK on the parties in the

within action by electronic mail at San Francisco, CALIFORNIA, addressed as follows:


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Jennifer Seraphine Esq.                                         Jacob S. Zweig Esq.
Zhuanjia Gu Esq.                                                Turner Boyd LLP
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gu@turnerboyd.com                                                  MO2, LLC
   Parties Represented:                                            Mova, LLC
   MO2, LLC                                                        Rearden LLC
   Mova, LLC                                                       Rearden Mova, LLC
   Rearden LLC
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   Parties Represented:                                            Parties Represented:
   MO2, LLC                                                        XRSPACE Co., Ltd.
   Mova, LLC
   Rearden LLC
   Rearden Mova, LLC
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            I declare under penalty of perjury the foregoing to be true and correct. Executed at San Francisco, CALIFORNIA on

November 17, 2020.



_________________________________
Sandra Chan
JAMS
SChan@jamsadr.com
